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 4
                            UNITED STATES DISTRICT COURT
 5
                                 DISTRICT OF NEVADA
 6

 7    UNITED STATES OF AMERICA,                 Case No. 3:12-cr-00015-HDM-WGC
 8                             Plaintiff,
            v.                                  ORDER
 9
      CAMERON MUHLENBERG,
10
                               Defendant.
11

12          On June 29, 2018, the court denied the defendant’s motion to

13    vacate pursuant to 28 U.S.C. § 2255. (ECF No. 144). The court

14    denied the motion on the merits and denied a certificate of

15    appealability. The Ninth Circuit also denied a certificate of

16    appealability. (ECF No. 159).

17          While   the    defendant’s    request       for   a   certificate   of

18    appealability was pending before the Ninth Circuit, he filed with

19    this court a “renewed” motion to vacate pursuant to 28 U.S.C. §

20    2255, seeking to preserve the filing deadline in the event the

21    government or any court found his prior § 2255 motion to be

22    untimely. (ECF No. 158).

23          The defendant’s § 2255 motion was disposed of by this court

24    on the merits and the Ninth Circuit declined to issue a certificate

25    of appealability with respect to the court’s ruling.                There is

26    therefore no basis for consideration of the defendant’s “renewed”

27    § 2255 motion.      Accordingly, the renewed motion for § 2255 relief

28    (ECF No. 158) is hereby DENIED.


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 1          The   associated     civil    case,    3:20-cv-00387-HDM,     shall

 2    accordingly be CLOSED.

 3          IT IS SO ORDERED.

 4          DATED: This 11th day of January, 2021.
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                                         UNITED STATES DISTRICT JUDGE
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